Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 1 of 36




                         Exhibit 11
  Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 2 of 36




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig “Deepwater          *       MDL NO. 2179
   Horizon” in the Gulf of Mexico, on April         *
   20, 2010                                         *       SECTION J
                                                    *
                                                    *
                                                    *       HONORABLE CARL J.
                                                    *       BARBIER
                                                    *
                                                    *       MAGISTRATE JUDGE
                                                    *       SHUSHAN
                                                    *


                     DECLARATION OF ALAN W.A. JEFFREY, PH.D.

       I, Alan W.A. Jeffrey, submit this declaration in support of BP Defendants’ Motion for

Final Approval of Deepwater Horizon Economic and Property Damages Settlement Agreement

As Amended On May 2, 2012. I am over the age of 18, and the opinions, statements, and

conclusions expressed in this declaration are my own.


Experience

       1.      I have a Ph.D. in oceanography from Texas A&M University. I also have a

master’s degree in organic chemistry from Queen’s University in Canada, and a bachelor of

science in biochemistry, also from Queen’s University. After receiving my doctorate in 1981, I

spent two years conducting geochemical research related to natural gas and oil exploration. My

expertise includes the following areas: geochemistry, oceanography, and environmental science.

My geochemistry expertise has and continues to focus on oil and other hydrocarbons. My CV is

attached to this declaration as Exhibit A.

       2.      I have been working for over twenty years in the United States and abroad in the

fields of geochemistry, oceanography, and environmental science. Over the course of that time, I


                                              -1-
  Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 3 of 36




have developed expertise in managing geochemical and environmental analytical laboratories, a

countrywide water monitoring program, and QA/QC management. Since 2000, I have worked as

Senior Geochemist at ZymaX Forensics in Escondido, California, where I have managed

environmental geochemistry projects, including data interpretation and preparation of reports.

Prior to that, I worked as Technical Director for JL Environmental Consultants in Singapore

from 1998 to 2000, where I initiated and directed environmental projects including water

monitoring programs, environmental impact assessments, hydrocarbon contamination, and

marine surveys. In addition, I worked for approximately seven years in various positions in

Malaysia and Indonesia in the fields of water monitoring, environmental impact assessments,

petroleum chemistry, and oil and gas geochemistry. From 1990 to 1991, I worked as Laboratory

Director and Senior Geochemist for Global Geochemistry Corporation in Los Angeles,

California, where I managed and oversaw projects utilizing geochemical techniques to solve

environmental problems, including drinking water and effluent water analysis at the Naval Air

Station in Port Hueneme, California and long-term analysis of lake water samples from

throughout the United States for the U.S. Environmental Protection Agency.

       3.      A significant part of my work involves designing, implementing, and evaluating

specific testing programs for oil and hydrocarbons following an unintended release, and analysis

of oil samples to determine their composition and source.

       4.      I did not personally participate in any settlement negotiations between BP and the

plaintiffs, nor did I have an advisory role during the settlement process.

Materials Reviewed

       5.      In preparation for writing this declaration, I reviewed the following materials:

(i) the Operational Scientific Advisory Team (“OSAT”) Summary Report for Sub-Sea and Sub-




                                                -2-
  Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 4 of 36




Surface Oil and Dispersant Detection: Sampling and Monitoring released December 17, 2010,

(“OSAT-I”); (ii) OSAT Summary Report for Fate and Effects of Remnant Oil in the Beach

Environment released February 10, 2011, (“OSAT-II”); (iii) the Deepwater Horizon MC 252

Response Unified Area Command Strategic Plan for Sub-Sea and Sub-Surface Oil and

Dispersant Detection, Sampling, and Monitoring dated November 13, 2010; and (iv) OSAT data

relating to BTEX (an acronym for benzene, toluene, ethylbenzene, and xylene compounds) and

polycyclic aromatic hydrocarbon (“PAH”) concentrations in water samples, and acute and

Chronic Aquatic Life Ratios (“CALRs”). I have also reviewed the literature and data relating to

the geochemistry of the Gulf of Mexico, and in particular the natural hydrocarbon releases that

are well-known in the Gulf. Based on my review of the foregoing materials, as well as the

relevant literature, I offer the observations and opinions contained in this declaration.

Opinions

       6.      It is well established that the Gulf of Mexico contains significant naturally-

occurring oil and gas leakage (seeps) from its subsurface reservoirs. For example, the National

Research Council in 2003 estimated that 140,000±60,000 tonnes (approximately 24 to 59 million

gallons or 0.6 to 1.4 million barrels) of petroleum hydrocarbons enter the Gulf of Mexico each

year from natural seeps. Part of the National Academies, the National Research Council,

publishes independent scientific reports with the goal of improving government decision making

and public policy and increasing public understanding in matters involving science, engineering,

technology, and health. Thus, over the ten period from 2000 to 2009, an estimated 240 to 590

million gallons, or 6 to 14 million barrels, would have naturally seeped into the Gulf of Mexico.

       7.      Oil is made up of a number of different components. PAHs comprise one

category of oil-related organic compounds that are potentially harmful. BTEX components of oil




                                                -3-
  Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 5 of 36




are also potentially harmful but generally do not persist in the environment as long as PAHs and

would be expected to be mostly depleted from oil that reached shorelines from the Deepwater

Horizon (“DWH”) spill, given the distance from the well to the shoreline. In OSAT-I samples

that were analyzed for BTEX, these compounds were never detected in MC252 oil that reached

the shore, nor were BTEX compounds detected in nearshore sediments. Analyses of oil samples

from the source toward the shore showed that volatile organic compounds (such as BTEX) were

either dissolved or evaporated from the MC252 oil near the source, and oil that approached the

nearshore environment no longer had BTEX compounds present. Because of the naturally-

occurring hydrocarbon seeps, oil components, including PAHs, exist naturally in background

levels in the Gulf region. Thus, it is not the case that any oil or PAHs detected in the Gulf are

necessarily the result of an oil spill, or specifically connected to or related to the DWH spill.

       8.      The extensive government-led testing of the nearshore water and sediments after

the DWH spill, discussed in more detail below, found very few samples containing potentially

harmful levels of oil components (PAHs or BTEX) consistent with oil from the Macondo well,

and none after August 3, 2010. That testing also found very few samples containing dispersant

components, and no samples containing levels exceeding toxicity benchmarks for those

components.

       The OSAT Projects

       9.      The OSAT was a government-led multi-agency team formed as part of the

response to the DWH spill that brought together scientific expertise from the Bureau of Ocean

Energy Management, Regulation and Enforcement, U.S. Environmental Protection Agency

(“EPA”), National Oceanic and Atmospheric Administration (“NOAA”), U.S. Coast Guard, U.S.

Geological Survey, U.S. Fish and Wildlife Service, and BP.




                                                 -4-
    Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 6 of 36




       10.     The OSAT-I project examined over 17,000 water and sediment samples from the

nearshore (shoreline to 3 nmi), offshore (3 nmi to 200 m depth), and deep-water (beyond 200-m

depth) taken between May 5 and October 23, 2010 from more than 25 vessels during more than

125 research cruises. These samples were taken in waters across the five Gulf states. OSAT-II

was a follow-up investigation by the OSAT team to examine the spatial distribution and potential

impacts of oil residues in the nearshore, surf zone, and sandy beach environments. As part of the

OSAT-II effort, four oiled sandy beaches with sensitive habitats that are representative of oiling

conditions across the Gulf (one each in Louisiana, Mississippi, Alabama, and Florida) were

chosen as case studies, and samples of different types of weathered oil were chemically

analyzed. Surveys conducted by Shoreline Cleanup and Assessment Technique (“SCAT”) teams

to determine the location and severity of oiling were also utilized for this analysis. It is my

opinion that the OSAT projects comprised a very broad and scientifically robust detection,

sampling, and monitoring program. In my opinion, the OSAT program was well-designed and

implemented in a way that effectively measured the extent of oil and dispersant components in

the nearshore environment following the DWH spill.

       11.     OSAT-I water and sediment samples were compared to human health

benchmarks, aquatic life benchmarks for PAHs, and aquatic benchmarks developed by EPA for

dispersant compounds. EPA’s aquatic life benchmarks are intended to capture the level above

which “there is the possibility of harm or risk to the humans or animals in the environment.”1

Samples found to exceed the EPA aquatic life benchmarks were assessed to determine whether

they were consistent with MC252 oil. The OSAT also reviewed sample data from other

monitoring programs such as Mussel Watch (a US-wide program that has collected and tested
1
 EPA Response to BP Spill in the Gulf of Mexico, Water Quality Benchmarks for Aquatic Life,
EPA, http://www.epa.gov/bpspill/water-benchmarks.html (last visited July 30, 2012).



                                                -5-
  Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 7 of 36




large numbers of water and sediment samples from 1986 through the present, including sites in

the Gulf region); this was to establish reference conditions for oil-related compounds that may

have been present in water and sediment prior to the MC252 release, given the extensive natural

hydrocarbon activity offshore in the Gulf region, and level of oil and gas exploration, production

and transportation activities, as well as other coastal industrial activities in the region.

        12.     In summary, the OSAT-I investigation found no samples in the nearshore zone

that exceeded human health benchmarks and a very low number of water and sediment samples

that exceeded aquatic life benchmarks for PAHs. Of 5,773 water samples, there were 22

exceedances of aquatic life benchmarks consistent with MC252 oil or of indeterminate origin.

Of 1,136 sediment samples, there were 13 exceedances of aquatic life benchmarks consistent

with MC252 oil or of indeterminate origin. None of the exceedances in samples collected after

August 3, 2010, were consistent with MC252 oil. OSAT-I also found that a small percentage of

nearshore water and sediment samples contained detectable levels of dispersant components, but

no exceedances of aquatic benchmarks for dispersant compounds. Table 3.1. from the OSAT-I

report, set forth below, accurately summarizes these results.




                                                  -6-
  Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 8 of 36




       13.    The OSAT-I datasets are publicly available through NOAA’s Environmental

Response Management Application (“ERMA”) website at http://gomex.erma.noaa.gov/. I have

obtained the publicly available datasets through ERMA and generated a series of maps using the

data showing the locations and chemistry results for nearshore water and sediment samples

tested for PAHs and dispersants, attached hereto as Exhibit B. A Chronic Aquatic Life Ratio

(“CALR”) exceeding 1 indicates that the sample exceeds concentrations calculated to protect

aquatic organisms from acute or chronic effects.

       14.    For the nearshore sediment samples, 2% exceeded EPA aquatic life benchmarks

(24 exceedances out of 1,136 samples). Of the 24 exceedances, 9 samples were of indeterminate




                                              -7-
  Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 9 of 36




origin, 11 were considered not consistent with MC252, and 4 were found to be consistent with

MC252. All exceedances after August 3, 2010, were found inconsistent with MC252 oil.

       15.     For the nearshore water samples, none of the 6,090 water samples considered for

comparison to the EPA human health benchmarks were found to exceed the benchmarks, and

0.7% of the samples (41 exceedances out of 5,773 samples) considered for comparison to the

EPA aquatic life benchmarks were found to exceed the benchmarks. Of the 41 exceedances, 13

samples were of indeterminate origin, 19 were found inconsistent with MC252 oil, and 9 were

found to be consistent with MC252 oil. None of the exceedances in samples collected after

August 3, 2010 were found to be consistent with MC252 oil.

       16.     Of the nearshore water and sediment samples analyzed for dispersant-related

components, 99% were found to have no detectable levels of the components (66 out of 5,262

samples detected any level). None of the 66 samples with detectable levels included any

exceedance of the benchmarks for the dispersant compounds.

       17.     The total percentage of nearshore water and sediment samples found to exceed the

EPA aquatic life benchmarks was 0.94%. Zero percent of samples were found to exceed the

EPA human health and dispersant compounds benchmarks.

       18.     Four levels of quality assurance (“QA”) established by EPA were applied to the

OSAT-I data, adding to the reliability of these data and the results.

       19.     OSAT-II addressed three types of shore and nearshore oil residue, including

supratidal buried oil (“SBO”), small surface residue balls (“SSRBs”), and submerged oil mats

(“SOM”). At each of four case study sites, one sample of each type of oil (SBO, SSRBs, and

SOM), was analyzed for oil and sand content. SOMs were found to have the greatest percentage

of oil compared to sand. Oil mats that were identified were excavated and removed. SBOs




                                                -8-
Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 10 of 36
Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 11 of 36




                 Jeffrey Declaration
                      Exhibit A
Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 12 of 36




Dr. Alan W.A. Jeffrey

QUALIFICATIONS:

Over 20 years of US and international experience in environmental science,
geochemistry, and oceanography. Expertise in management of research
projects, including presentation and publishing of results for professional audiences;
management of geochemical and environmental analytical laboratories; initiation and
management of a countrywide water monitoring program; QA/QC management of analytical
laboratories; and setting up and management of a small environmental consulting company.

EDUCATION:

B.Sc., Biochemistry, Queen's University, Canada, 1971.
M.Sc., Organic Chemistry, Queen's University, Canada, 1975.
Ph.D., Oceanography, Texas A&M University, USA, 1981

PROFESSIONAL EXPERIENCE :

Senior Geochemist, ZymaX Forensics, Escondido, USA         2000 - Present

•      Responsible for client communications in environmental studies and forensic
       geochemistry, and providing quality assurance oversight of an expanding environmental
       geochemistry program.
•      Management of environmental geochemistry projects including data interpretation and
       preparation of reports.
•      Expert witness services in Environmental Forensics

Technical Director, JL Environmental Consultants, Singapore                       1998-2000

•      Ιnitiated and directed environmental projects in water quality, air quality, soil surveys,
       environmental impact assessments, hydrocarbon contamination, and marine surveys.

Some major projects included:
•     Prepared environmental legislative reports on Malaysia for General Electric Corp.
•     Supervised HSE issues after a hazardous chemical fire at a Motorola facility in
      Singapore.
•     Developed QA programs for analytical data for Montgomery Watson, Singapore.
•     Directed environmental site assessments for Lifestyle Furniture International.
•     Developed water monitoring programs for Cawalan Cecair, Malaysia.




Manager, Water Monitoring Division, Alam Sekitar Malaysia                       1995-1997
                                                                                       Page 1
                                                                         Dr Alan W.A. Jeffrey
Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 13 of 36




•     Implemented river water monitoring programs in Malaysia under a unique privatization
      program carried out by the Malaysian Government. These included:
      − Taking over a network of over 900 manual water monitoring stations throughout
          Malaysia, and collecting 400 samples per month for analysis of 30 water quality
          parameters.
      − Designing and setting up a network of continuous, on-line, river water monitoring
          stations.
•     Hired and trained the local technical staff to carry out the monitoring.
•     Set up regional offices for the monitoring teams.
•     Negotiated contracts with local laboratories for analytical services.
•     Instituted procedures for transfer of analytical and monitoring data and incorporation in
      monthly reports to the Malaysian Department of Environment.
•     Regularly briefed Department of Environment senior technical staff on program status.
•     Conducted technical workshops for Department of Environment staff on water
      monitoring and quality assurance.

Manager, Quality Assurance and Environmental Services                           1995-1996
Alam Sekitar Malaysia

•     Designed and implemented quality assurance programs for the water monitoring
      programs above and ambient air monitoring programs:
      − A network of 30 on-line stations continuously monitoring 14 air quality and
          meteorological parameters.
      − A network of high-volume ambient air samplers monitoring particulate matter
          concentration and composition.
•     Compiled a Quality Manual for technical operations.
•     Solicited contracts and prepared proposals for consulting projects in environmental
      impact assessments and industrial air and water monitoring.


Senior Chemist, Environmental and Chemistry Dept.                               1992-1994
Core Laboratories Malaysia

•     Managed an environmental and petroleum chemistry laboratory with 15 chemists and
      technicians.
•     Co-ordinated, though a team of project managers, environmental and petroleum
      chemistry projects, including environmental impact assessments, baseline studies, soil,
      water, and air monitoring, oilfield gas, oil and water analysis.
•     Advised clients on Malaysian and foreign environmental regulations, and set up
      sampling and analytical programs for regulatory compliance.
•     Implemented a quality assurance program as QA/QC officer to enable the laboratory to
      achieve ISO 25 certification.
•     Prominent projects included environmental impact assessments for the Lawit gas
      platform and pipeline to shore, and the PM5 and PM8 exploration blocks in offshore
      peninsular Malaysia, both for Esso Malaysia. In addition to EIA preparation,
      responsibilities included managing the baseline survey including planning and

                                                                                      Page 2
                                                                        Dr Alan W.A. Jeffrey
Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 14 of 36




       supervising the month-long oceanographic program, co-ordinating the chemistry
       analytical program, and writing the baseline survey report.
•      Other major projects included site surveys for Motorola, Esso, and Sarawak Shell,
       ambient air monitoring for Brunei Shell, and oilfield water and gas analysis for Esso,
       Shell and Total.

Laboratory Director and Senior Geochemist, Global Geochemistry Corp.,           1990-1991
Los Angeles, U.S.A.

•      Managed an integrated environmental/geochemical laboratory with 20 staff.
•      Provided proposals and price quotations to clients.
•      Scheduled analyses and monitored turnaround of data.
•      Monitored data quality as QA/C Officer.
•      Advised clients on California and U.S. EPA environmental regulations, and set up
       sampling and analytical programs for regulatory compliance.
•      Solicited and managed projects utilizing geochemical techniques to solve environmental
       problems.

Major projects included:
•      Monitoring progress in a large site remediation project for Roy F. Weston Co.
•      Drinking water and effluent water analysis at the Naval Air Station, Port Huaineme,
       California for the Dept. of the Navy
•      Long term analysis of lake water samples from throughout the U.S. for U.S. EPA.
•      Characterizing Southern California beach tar samples and comparison with oil spilled
       from the American Trader tanker in Huntington Beach, for BP Petroleum.
•      Detailed geochemical analysis and interpretation of several oil wells in Japan for Japex
       Oil Co.


Senior Geochemist, P.T. Robertson Utama, Indonesia                              1989-1990

•      Selected appropriate geochemical analytical schemes for oil, gas, and rock samples from
       oil company drilling operations in sedimentary basins in Indonesia, Malaysia Thailand,
       South China and Papua New Guinea.
•      Prepared detailed interpretative reports on the oil and gas potential based on the
       geochemical results.
•      Utilized computer-assisted basin modeling programs to assess exploration potential for
       oil companies.
•      Major clients included Exxon, ARCO, Caltex, Mobil, Occidental Oil, Chevron, IPC
       (Japan), and Maxus Oil.


Research Geochemist Global Geochemistry Corp.             1984-1989

•      Managed geochemical research projects funded by the Department of Energy and the
       Gas Research Institute to elucidate the origin of natural gas.
•      Devised analytical schemes for natural gas and supervised analyses by a small team of
       technicians.
                                                                                      Page 3
                                                                        Dr Alan W.A. Jeffrey
Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 15 of 36




•     Prerared detailed technical reports and publications based on the results.
•     Presented results at scientific meetings.
•     Prepared scientific proposals for research projects to funding agencies.

Research Associate, Texas A&M University                                           1981-1983

•     Supervised the analysis of natural gas samples for both research and commercial
      projects.
•     Prepared interpretative reports based on the results.
•     Participated in oceanographic cruises to collect samples for both geochemical research
      and oil exploration.
•     Prepared scientific proposals for research projects to funding agencies.


Welch Foundation Pre-Doctoral Fellow, Texas A&M University                         1978-1980

•     Conducted research on the origin of natural gas, leading to the Ph. D. Degree.



Professional         :       American Chemical Society
Affiliations                 American Association for the Advancement of Science
                             Groundwater Resources Association

Publications         :       14 research papers in scientific journals and books in the field of
                             geochemistry, environmental chemistry and oceanography.

Presentations        :       23 presentations at American, Malaysian and international
                             scientific meeting.

Oceanographic        :       Supervised and participated in over 10 cruises in the Gulf of
Cruises                      Mexico, Caribbean Sea, Atlantic Ocean, Mediterranean Sea, and
                             South China Sea, to perform oceanographic measurements and
                             collect water and sediment samples for chemical analysis.




                                                                                        Page 4
                                                                          Dr Alan W.A. Jeffrey
Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 16 of 36




PUBLICATIONS

Sackett, W.M., Chung. H.M. and Jeffrey, A.W.A. (1979). Isotope effects during the pyrolytic
formation of hydrocarbons from various carbonaceous materials, Proceedings of the Treibs
Symposium, Wurzburg, Germany.

Jeffrey, A.W.A., Pflaum, RC., Brooks, J.M., and Sackett, W.M. (1983). Vertical trends in
particulate organic carbon 13C/12C ratios in the upper water column. Deep-Sea Res, 30(9):971-
983.

Jeffrey, A.W.A., Pflaum, R.C., McDonald, T.J., Brooks, J.M., and Kvenvolden, K (1985).
Isotopic analysis of core gases at sites 565-570, DSDP Leg 84. Init. Reports Deep Sea Drill.
proj. 84, 719-726. U.S. Govt. Printing Office, Washington.

Brooks, J.M., Jeffrey, A.W.A., McDonald, T.J., Pflaum, R.C., and Kvenvolden, K.A., (1985).
Geochemistry of hydrate gas and water from site 570, DSDP Leg 84. In initial Reports of the
Deep Sea Drilling Project, 84, 699-705. U.S. Govt. Printing Office, Washington.

Jeffrey, A.W.A., Kaplan, I.R., Fish, F., and Lindbo, T., (1986), Exploration for mantle gas at
Siljan Ring, Sweden. Fifth International Symposium on Water-Rock Interaction, Extended
Abstracts, p. 286-289. Orkustofnun, Reykjavik, Iceland.

Jeffrey, A.W.A., Kaplan, I.R., Poreda, R.J., Craig, H., Armannsson, H., and Arnorsson, S.,
(1986), Stable isotope geochemistry of geothermal and sedimentary gases. Fifth International
Symposium on Water-Rock Interaction, Extended Abstracts, p. 290-293. Orkustofun,
Reykjavik, Iceland.

Jeffrey, A.W.A., Kaplan, I.R., and Castano, J.R., (1988), Analysis of gases in the Gravberg-1
well. In, A. Boden and K.G. Eriksson (eds.) Deep Drilling in Crystalline Bedrock, v. 1.
Springer-Verlag, Heidelberg, p. 134-139.

Valley, J.W., Komor, S.C., Baker, K., Jeffrey, A.W.A., Kaplan, I.R., and Raheim, A., (1988),
Calcite crack cements in granite from the Siljan Ring, Sweden: stable isotopic results. In, A.
Borden and K.G. Eriksson (eds.) Deep Drilling in Crystalline Bedrock, v. 1. Springer-Verlag,
Heidelberg, p. 180-208.

Jeffrey A.W.A. and Kaplan, I.R., (1988), Hydrocarbons and inorganic gases in the Gravberg-1
well, Siljan Ring, Sweden. Chem. Geol., 71, 237-255.

Poreda, R.J., Jeffrey, A.W.A., Kaplan, I.R., and Craig, H., (1988), Magmatic helium in
subduction-zone natural gases. Chem. Geol., 71, 199-211.

Armannsson, H., Benjaminsson, J. and Jeffrey, A.W.A. (1989) Gas changes in the Krafla
geothermal system, Iceland. Chem. Geol. 76: 175-196.

Jeffrey, A.W.A. and Kaplan, I.R. (1989) Asphaltene-like material in Siljan Ring Well suggests
mineralized altered drilling fluid. J. Petrol. Technol. (December): 1262-1313.

                                                                                     Page 5
                                                                       Dr Alan W.A. Jeffrey
Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 17 of 36




Motyka, R.J., Poreda, R.J. and Jeffrey, A.W.A. (1989). Geochemistry, isotopic composition,
and origin of fluids emanating from mud volcanoes in the Copper River Basin, Alaska.
Geochim. Cosmochim. Acta, 53, 29-41.

Jeffrey, A.W.A. and Kaplan, I.R., (1989). Drilling fluid additives and artifact hydrocarbon
shows: examples from the Gravberg-1 well, Siljan Ring, Sweden. Scientific Drilling, 1, 63-70.

Jeffrey A.W.A., Alimi, H.M., and Jenden, P.D., (1988), Geochemistry of Los Angeles Basin oil
and gas systems. In K.T. Biddle and D.W. Phelps (eds.), Active Margin Basins. American
Association of Petroleum Geologists, Tulsa, in press.

Jeffrey, A.W.A., Lee J.S. and Bakry S. (1996) The Health of Malaysian Rivers : Environmental
Monitoring of Selected Rivers Systems. 2nd Conference on Instruments, Systems and
Automation, Extended Abstracts, Kuala Lumpur, Malaysia.

Jeffrey, Alan; Kaplan, Isaac; Zhang, Dachun; Lu, Shan-Tan, and Nielsen, Jesper, (2002).
Environmental Tracers: Identifying the sources of nitrate contamination in groundwater.
Contaminated Soil Sediment and Water, June 2002, 34-35.

Jeffrey, Alan; Kaplan, Isaac; Zhang, Dachun; Lu, Shan-Tan; Haddad, Robert, and Nielsen,
Jesper, (2003). Fugitive Methane. Contaminated Soil Sediment and Water, September 2003,
13-15.

Jeffrey, Alan W.A., (2006) Application of Stable Isotope Ratios in Spilled Oil Identification. In
Oil Spill Environmental Forensics, Wang, Z and Stout S. (eds.) Elsevier, pp. 207-227.




REPORTS

Jeffrey, A.W.A. (1987). Detection/differentiation system development for deep source gasses.
Final Report to Department of Energy, Morgantown Energy Technology Centre, 170 pp.

Global Geochemistry Corp., (1987). The geochemistry of hydrocarbons and potential source
rocks from the Los Angeles and Ventura Basins.

Global Geochemistry Corp., (1988). The petroleum geochemistry of crude oils and potential
source rocks from the Paleogene of the San Joaquin and Ventura/Santa Barbara Basins.




                                                                                        Page 6
                                                                          Dr Alan W.A. Jeffrey
Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 18 of 36




PRESENTATIONS

Carbon isotope effects in hydrocarbon cracking. Presented at the Fall Meeting of the
Southern Regional Geochemistry Group. Port Arkansas, Texas. 12-14 October, 1978.

Isotope and fluorescence measurement on the products of pyrolysis of a suite of shales.
Presented at the National Meeting of the American Chemical Society. Las Vegas, Nevada. 28
March - 2 April 1982.

Thermal and clay catalyzed cracking in the formation of natural gas. Presented at the
Dissertations in Chemical Oceanography symposium. Honolulu, Hawaii. 25 - 29 October,
1982.

Vertical trends in particulate organic carbon 13C/12C ratios in the upper water column.
Presented at the Fall Meeting of the American Geophysical Union, San Francisco, 7 - 15
December, 1982.

Detection/differentiation system development for deep source gases. Presented at the Deep
Source Gas Contractors Review Meeting, DOE, Morgantown, W.V., 25 - 26 March, 1986.

Stable isotope geochemistry of geothermal and sedimentary gases. Presented at the Fifth
International Symposium on Water-Rock Interaction, Reykjavik, Iceland, 8 - 17 August 1986.

Exploration for mantle gas at Siljan Ring, Sweden. Presented at Fifth International
Symposium on Water-Rock Interaction, Reykjavik, Iceland, 8 - 17 August 1986.

Analysis of gases in the Gravberg-1 well. Presented at the Third International Symposium on
Observation of the Continental Crust through Drilling, Mora and Orsa, Sweden, 7 - 10
September 1987.

The origin of production gases from convergent plate margins. Presented at the American
Association of Petroleum Geologists Annual Meeting, Los Angeles, 7 - 10 1987.

Geochemistry of gases in the Siljan well. Presented at the American Geophysical Union
Meeting, San Francisco, 7 - 11 December 1987.

Hydrocarbons and inorganic gases in the Gravberg-1 well, Siljan Ring, Sweden. Presented
at the Symposium on origins of Methane in the Earth, Geological Society of America Annual
Meeting, Phoenix, 25 - 29 October 1987.

Geochemistry of gases from the Gravberg-1 well, Siljan Ring, Sweden. Presented at the Los
Angeles Basin Geological Society Meeting, Los Angeles, 21 April 1988.

Origin of hydrocarbons in the Gravberg-1 well, Siljan Ring, Sweden. Presented at the
Geological Society of America Annual Meeting, Denver, October 1988.


The Health of Malaysian Rivers : Environmental Monitoring of Selected Rivers Systems.
                                                                               Page 7
                                                                Dr Alan W.A. Jeffrey
Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 19 of 36




Presented at the 2nd Conference on Instruments, Systems and Automation, Kuala. Lumpur,
Malaysia, June 1996.

Forensic Environmental Geochemistry; Hydrocarbon Sleuthing. Presented at the Central
Coast Geological Society Meeting, Arroyo Grande, June 2000.

Hydrocarbon Tracers for Differentiating Fuel Type, Source, and Extent of Weathering.
Presented at the AEG-GRA National Meeting, San Jose, September, 2000.

Heavy Oil and Hydrocarbon Fuel Contamination in Soil and Water: Identification and
Weathering Characteristics.      Presented at the Annual West Coast Conference on
Contaminated Soils, Sediments and Water, San Diego, March 2001

Overview of Petroleum Fuel Identification and Dating Techniques. Presented at
Environmental Litigation: Advanced Forensics and Legal Strategies. University of Wisconsin-
Madison Professional Development Course, San Francisco, April, 2001

Hydrocarbon Tracers for Differentiating Fuel Type, Source, and Extent of Weathering.
Workshop presentation at the International Petroleum Environmental Conference, Houston,
November, 2001.

Introduction to Environmental Forensics. Workshop presentation at the Annual West Coast
Conference on Contaminated Soils, Sediments and Water, San Diego, March 2002.

Groundwater Geochemistry. Workshop presentation at the National Groundwater Association
Conference on MTBE, Anaheim, CA, 4-6 July, 2002.

Application of Isotope Ratios in Forensic Geochemistry. Presented at Environmental
Forensics: Advanced Techniques, an International Society of Environmental Forensics
Workshop, Santa Fe, September, 1992.

Forensic Environmental Geochemistry: Petroleum Fuels. Workshop presentation at the 18th
Annual International Conference on Contaminated Soils, Sediments and Water, Amherst, 20-23
October, 2002.

Fuel Fingerprinting. Presentation at the Workshop on Environmental Forensics, Groundwater
Resource Association, Emeryville, CA, 14 November, 2002

Application of Isotopes and Specialized Ratios in Petroleum Hydrocarbon Forensics:
Theory and Case Studies. Presented at Environmental Forensics: Theory, Application and
Case Studies, International Society of Environmental Forensics Workshop, Honolulu, 14-15
April, 2003

Forensic Analysis of Fugitive Methane Gas Emissions. Platform presentation at the
International Society of Environmental Forensics Workshop, San Diego, 4-5 November, 2003.

Classical Chemical Techniques in Environmental Forensics. Workshop presentation at the
Annual West Coast Conference on Contaminated Soils, Sediments and Water, San Diego,
                                                                                    Page 8
                                                                   Dr Alan W.A. Jeffrey
Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 20 of 36




March 2005.

Petroleum Forensics. Workshop presentation at the California Environmental Law
Conference, Yosemite, 22 October, 2005.

Use of Environmental Forensics in Environmental Investigations and Litigation.
Workshop presentation to the Hawaii State Department of Health, Honolulu, 19 May, 2006.

Use of Carbon Isotope Ratios to Distinguish Perchloroethylene Plumes in Soil and
Groundwater. Platform presentation at the Groundwater Resources Association symposium,
Applications of Isotope Tools to Groundwater Studies, Concord, CA, 29 March, 2007

Environmental Forensics: Tools of the Trade. Workshop presentation at the Northwest
Environmental Conference, Portland, 7 December, 2007

Forensic Techniques to Discriminate between Refined Product Releases. Workshop
presentation at the Society of Environmental Toxicology and Chemistry 5th World Congress,
Sydney, Australia, 3 August, 2008.

Refinery Leak Detection using Petroleum Forensics. Platform presentation at the Annual
West Coast Conference on Contaminated Soils, Sediments and Water, San Diego, March 2009.

Forensic Environmental Geochemistry: Petroleum Fuels and Chlorinated Solvents.
Workshop presentation at the International Network of Environmental Forensics Conference,
Calgary, Canada, 31 August – 2 September, 2009

Chlorinated Solvent Releases: CSIA Case Studies. Workshop presentation at EPA Region 4
Environmental Forensics Course, Atlanta, April 13, 2010.

Disentangling Comingled Gasoline Plumes using Petroleum Forensics. Platform
presentation at the Annual West Coast Conference on Contaminated Soils, Sediments and
Water, San Diego, March 2010.

Fingerprinting Crude Oil Spills: Los Angeles to Deepwater Horizon and Chlorinated
Solvent Releases: CSIA Case Studies. Platform and workshop presentations at the
International Network of Environmental Forensics Conference, Cambridge, UK, July 2011

Environmental Forensics Workshop. National Groundwater Association, Albuquerque,
September 2011.

Environmental CSI: Petroleum Product Releases. Environmental Professionals of Iowa
Symposium, Des Moines, November 2011




                                                                                    Page 9
                                                                      Dr Alan W.A. Jeffrey
Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 21 of 36




EXPERT WITNESS AND LITIGATION SUPPORT

  •   Retained by Nossaman, Guthner, Knox & Elliott, LLP, Los Angeles, CA in July, 2001 to
      provide an expert witness declaration on the reliability of analytical data provided by the
      plaintiff on organic compounds in water samples.

  •   Retained by Cory J. Briggs Esq, Washington, DC in November, 2001 to provide an
      expert opinion on the methodology employed by the defendant to analyze organic
      compounds in water samples.

  •   Retained by Clements, O’Neill, Pierce, Wilson & Fulkerson, Houston, TX in April, 2002
      to provide an expert opinion on crude oil contamination at a site in California

  •   Retained by Holmes Weddle & Barcott, Anchorage, AK in August 2002 to provide an
      expert witness declaration in Zurich American Insurance vs Whittier Properties

  •   Retained by Kelley, Hart & Hallman Austin, TX in April 2003 to provide an expert
      opinion in Elementis Chromium vs Coastal States et al.

  •   Retained by Demetriou, Del Guercio, Springer, & Francis, Los Angeles, CA in May
      2003 to provide expert testimony in County of Los Angeles vs Kernview Oil Corp. et al.
      Deposed on May 22, 2003.

  •   Retained by Gallaher, Lewis, Downey & Kim, Houston, TX in May 2003 to provide an
      expert opinion in John H. Roam et al vs Texas-New Mexico Pipeline Co. et al.

  •   Retained by Winder & Haslam, Salt Lake City, UT in June 2003 to provide an expert
      opinion in Evans et al vs Maverik Country Stores Inc

  •   Retained by Butzel Long, Detroit, MI in August 2003 to provide litigation support in
      Sattorelli v. Wolverine Oil Co.

  •   Retained by Armstrong Teasdale, Kansas City, MO in December 2003 to provide
      litigation support in Cargill Inc v. ONEOK Inc

  •   Retained by Bernstein, Cushner & Kimmell, Boston MA in March 2004 to provide
      litigation support in Hudson Bus Lines v. Exxon Mobil

  •   Retained by Alexander, Holburn, Beaudin & Lang, Vancouver, BC, Canada in June 2004
      to provide an expert opinion in a fuel spill case.

  •   Retained by Morgan Lewis, Los Angeles, CA in August 2004 to provide litigation
      support in City of Los Angeles v. Chevron U.S.A.

  •   Retained by Bandas and Laws, Corpus Christi, TX in September 2004 to provide an
      expert opinion in C.C. Sunrise v. Pittencrieff. Deposed on September 10, 2004


                                                                                     Page 10
                                                                         Dr Alan W.A. Jeffrey
Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 22 of 36




  •   Retained by Adamski, Moroski, Madden & Green, San Luis Obispo, CA in February
      2005 to provide an expert opinion in Paso Robles Tank vs Thomas Saberi et al. Deposed
      on April 21, 2005. Testified at trial on May 19, 2005.

  •   Retained by the Law Offices of Patrick E. Catalano, San Diego, CA in August - October
      2005 to provide expert opinions in underground water migration cases.

  •   Retained by Becnel Law Offices, New Orleans, LA in February 2006 to provide an
      expert opinion in Turner et al vs Murphy Oil USA Inc.

  •   Retained by Edgar Law Firm, Kansas City, MO to provide an expert opinion in City of
      Neodesha vs BP Corp. Deposed on February 28, 2007. Testified at trial on October 31,
      2007

  •   Retained by Reed Smith LLP, San Francisco, CA in November, 2006 to provide an
      expert opinion on petroleum product contamination at a site in Northern California

  •   Retained by Osler, Hoskin & Harcourt, Toronto, Canada in December, 2006 to provide
      an expert opinion on petroleum product contamination at a site in Toronto.

  •   Retained by Trevett, Cristo, Salzer, & Andolina P.C. Rochester, NY in January, 2007 to
      provide and expert opinion in Cilibert vs Griffith Energy.

  •   Retained by Bracewell & Guiliani LLP, Washington, DC in February, 2007 to provide
      an expert opinion on petroleum product contamination at a site in West Virginia.

  •   Retained by Lambert & Nelson PLC, New Orleans, LA in July 2007 to provide an expert
      opinion on petroleum contamination at a site in Kansas

  •   Retained by Agajanian Law Group, LLP, Los Angeles, CA in July 2007 to provide an
      expert opinion in Doubletree vs Razi. Participated in mediation meeting on July 20,
      2007.

  •   Retained by Bansbach Zoghlin, P.C., Rochester, NY in August, 2007 to provide an
      expert opinion on petroleum product contamination at a site in Rochester, NY

  •   Retained by Crandall, Wade & Lowe PC, Rancho Cucamonga, CA in August 2007 to
      provide litigation support in State Farm vs Union Oil of California. Presented opinion at
      mediation meeting on September 11, 2007

  •   Retained by Pillsbury Winthrop Shaw Pittman LLP in August 2007 to provided litigation
      support in Southern California Presbyterian Homes vs Chevron Products Co.

  •   Retained by Stanzler Funderburke & Castellon LLP, Los Angeles, CA in September
      2007 to provided an expert opinion in City of Los Angeles vs Kinder Morgan Energy
      Partners. Deposed on October 15, 2007


                                                                                    Page 11
                                                                        Dr Alan W.A. Jeffrey
Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 23 of 36




  •   Retained by the Hudgins Law Firm PC, in November 2007 to provide an expert opinion
      in Tellus Operating Group vs Texas Petroleum Investment Co. Deposed on February 19,
      2008.

  •   Retained by McInnes Cooper Law Firm, Nova Scotia, Canada in December 2007 to
      provide an expert opinion in Gunvaldsen-Klassen vs Bulpitt and Gray.

  •   Retained by the City Attorney of San Diego in January 2008 to provide litigation support
      in City of San Diego vs BNSF.

  •   Retained by Anastassiou & Associates, Salinas, CA in February 2008 to provide
      litigation support in Blech vs Oceano Packing Co. Deposed on February 23, 2009.
      Testified at mediation trial on March 17-18, 2009.

  •   Retained by Methfessel & Werbel, Edison, NJ in May 2008 to provided an expert
      opinion in Pillar of Fire vs Mercer Mutual.

  •   Retained by Lee.Smart Inc, Seattle, WA in June 2008 to provided an expert opinion in
      Grey vs Leach. Deposed on September 26, 2008

  •   Retained by Meyers Nave, Los Angeles, CA in April 2009 to provide litigation support
      in Bach vs Yoelin.

  •   Retained by Johannessen and Associates, Seattle, WA in December 2009 to provide an
      expert opinion in Louie et al vs Exxon Mobil Corp.

  •   Retained by Arnold & Porter, Washington, DC in July 2010 to provide litigation support
      arising out of the Deepwater Horizon incident.

  •   Retained by Perkins Coie, Seattle, WA in December 2010 to provide litigation support in
      Fairfield Development vs The Boeing Company.

  •   Retained by Lewis Brisbois Bisgaard & Smith, Costa Mesa, CA in March 2011 to
      provide an expert opinion in Orange County Water District v. Northrop Grumman
      Systems Corporation

  •   Retailed by Davidson & Troilo, San Antonio, TX in May 2011 to provide an expert
      opinion in Compass Bank v. Tom Yates Petroleum Co., Inc.

  •   Retained by Pacific Gas & Electric in July 2011 to provide expert services in the matter
      of a former Manufactured Gas Plant in California.

  •   Retained by Johannessen and Associates, Seattle, WA in August 2011 to provide an
      expert opinion in Pettit Oil Co. v. Russell et al.

  •   Retained by Foster Pepper, Seattle, WA in October 2011 to provide expert services in the
      matter of the Port of Seattle/T-91
                                                                                   Page 12
                                                                       Dr Alan W.A. Jeffrey
Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 24 of 36




                 Jeffrey Declaration
                      Exhibit B
                                                                    Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 25 of 36




    MC-252 Wellhead



                                                                                                                                                             Florida




0                                     60 Miles


0                     60 Kilometers

Dispersant Chemistry Samples                                               MC-252 Wellhead
           Dispersants Constituents Detected                                                                                              Nearshore Sediment Dispersant
           Dispersants Not Detected                                                                                                      Chemistry Sampling Results East
         Data source: http://www.restorethegulf.gov April 5, 2012
                                                                Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 26 of 36




                                                                                                                                           Mississippi




                                                                            Louisiana


             Texas




0                                60 Miles                                                                                                                  MC-252 Wellhead


0                60 Kilometers

Dispersant Chemistry Samples
      Dispersants Constituents Detected                                                 MC-252 Wellhead                               Nearshore Sediment Dispersant
      Dispersants Not Detected                                                                                                       Chemistry Sampling Results West
     Data source: http://www.restorethegulf.gov April 5, 2012
                                                                Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 27 of 36

                                                                                                           Alabama

                                                                     Mississippi                                                           Georgia

      Texas

                                           Louisiana




                                                                                              MC-252 Wellhead
                                                                                                                                                     Florida




            0              60 Miles


            0        60 Kilometers




Dispersant Chemistry Samples
      Dispersants Constituents Detected (6)                      MC-252 Wellhead                                                    Nearshore Sediment Dispersant
      Dispersants Not Detected (406)                                                                                                 Chemistry Sampling Results
     Data source: http://www.restorethegulf.gov April 5, 2012
                                                                  Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 28 of 36




MC-252 Wellhead




                                                                                                                                                           Florida




0                                  60 Miles


0                  60 Kilometers

Nearshore Sediment Chemistry (PAH) Samples                                 MC-252 Wellhead
         Chronic Aquatic Life Ratio >1                                                                                                    Nearshore Sediment PAH
         Chronic Aquatic Life Ratio <=1                                                                                                Chemistry Sampling Results East
       Data source: http://www.restorethegulf.gov April 5, 2012
                                                                Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 29 of 36




                                                                                                                                           Mississippi




                                                                            Louisiana

           Texas




0                                60 Miles                                                                                                                  MC-252 Wellhead


0                60 Kilometers

Nearshore Sediment Chemistry (PAH) Samples
      Chronic Aquatic Life Ratio >1                                                     MC-252 Wellhead                                 Nearshore Sediment PAH
      Chronic Aquatic Life Ratio <=1                                                                                                 Chemistry Sampling Results West
     Data source: http://www.restorethegulf.gov April 5, 2012
                                                                Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 30 of 36

                                                                                                          Alabama

                                                                     Mississippi                                                               Georgia

      Texas

                                           Louisiana




                                                                                                                                                         Florida




                       0              60 Miles


                       0        60 Kilometers




Nearshore Sediment Chemistry (PAH) Samples
      Chronic Aquatic Life Ratio >1 (24)                                                MC-252 Wellhead                                     Nearshore Sediment PAH
      Chronic Aquatic Life Ratio <=1 (1,182)                                                                                               Chemistry Sampling Results
     Data source: http://www.restorethegulf.gov April 5, 2012
                                                                     Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 31 of 36




    MC-252 Wellhead




                                                                                                                                                              Florida




0                                     60 Miles


0                     60 Kilometers

Dispersant Chemistry Samples                                                MC-252 Wellhead
           Dispersant Samples Exceeding EPA Benchmark                                                                                       Nearshore Water Dispersant
           Dispersant Samples Not in Exceedance                                                                                           Chemistry Sampling Results East
          Data source: http://www.restorethegulf.gov April 5, 2012
                                                                Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 32 of 36




                                                                                                                                           Mississippi




                                                                            Louisiana



              Texas




0                                60 Miles                                                                                                                  MC-252 Wellhead


0                60 Kilometers

Dispersant Chemistry Samples
      Dispersant Samples Exceeding EPA Benchmark                                        MC-252 Wellhead                                Nearshore Water Dispersant
      Dispersant Samples Not in Exceedance                                                                                           Chemistry Sampling Results West
     Data source: http://www.restorethegulf.gov April 5, 2012
                                                                Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 33 of 36

                                                                                                           Alabama

                                                                     Mississippi                                                               Georgia

      Texas

                                           Louisiana




                                                                                              MC-252 Wellhead
                                                                                                                                                         Florida




             0              60 Miles


             0        60 Kilometers




Dispersant Chemistry Samples
      Dispersant Samples Exceeding EPA Benchmark (0)                        MC-252 Wellhead                                                Nearshore Water Dispersant
      Dispersant Samples Not in Exceedance (4,850)                                                                                         Chemistry Sampling Results
     Data source: http://www.restorethegulf.gov April 5, 2012
                                                                      Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 34 of 36




    MC-252 Wellhead




                                                                                                                                                               Florida




0                                      60 Miles


0                      60 Kilometers

Nearshore Water Chemistry (PAH) Samples                                      MC-252 Wellhead
            Chronic Aquatic Life Ratio >1                                                                                                      Nearshore Water PAH
            Chronic Aquatic Life Ratio <=1                                                                                                 Chemistry Sampling Results East
           Data source: http://www.restorethegulf.gov April 5, 2012
                                                                Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 35 of 36




                                                                                                                                           Mississippi




                                                                            Louisiana



            Texas




0                                60 Miles                                                                                                                  MC-252 Wellhead


0                60 Kilometers

Nearshore Water Chemistry (PAH) Samples
      Chronic Aquatic Life Ratio >1                                                     MC-252 Wellhead                                   Nearshore Water PAH
      Chronic Aquatic Life Ratio <=1                                                                                                 Chemistry Sampling Results West
     Data source: http://www.restorethegulf.gov April 5, 2012
                                                                Case 2:10-md-02179-CJB-DPC Document 7114-12 Filed 08/13/12 Page 36 of 36

                                                                                                          Alabama

                                                                     Mississippi                                                               Georgia

      Texas

                                           Louisiana




                                                                                             MC-252 Wellhead
                                                                                                                                                         Florida




            0             60 Miles


            0        60 Kilometers




Nearshore Water Chemistry (PAH) Samples
      Chronic Aquatic Life Ratio >1 (41)                                                MC-252 Wellhead                                       Nearshore Water PAH
      Chronic Aquatic Life Ratio <=1 (5,732)                                                                                               Chemistry Sampling Results
     Data source: http://www.restorethegulf.gov April 5, 2012
